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JUN 13-2019
JDM/DEH: USAO#2017R00712 Area
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IN THE UNITED STATES DISTRICT COURT DEPUTY
FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA )
)
v. ) CRIMINAL NO. RAG-/4-029 /
)
WILLIAM SOYKE, ) (Conspiracy to Distribute and Dispense
. ) Controlled Substances, 21 U.S.C. § 846;
) Forfeiture)
INFORMATION
COUNT 1

(Conspiracy to Distribute and Dispense Oxycodone, Fentanyl, Methadone, and

Alprazolam)

The United States Attorney for the District of Maryland charges that:

From at the latest March 2016 to in or about February 2018, in the District of Maryland,
the defendant

WILLIAM SOYKE,

did knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to knowingly, intentionally, and unlawfully distribute and possess with the intent to
distribute a mixture or substance containing a detectable amount of: (1) oxycodone, a Schedule TI
controlled substance; (2) fentanyl, a Schedule II controlled substance; (3) methadone, a Schedule
II controlled substance, and (4) alprazolam, a Schedule IV controlled substance, outside the
scope of the professional practice and not for a legitimate medica] purpose, in violation of Title
21, United States Code, Sections 841(a)(1), 846.

21 U.S.C. §§ 841, 846.
 

 

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FORFEITURE ALLEGATIONS
1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. §§
981(a)(1\(C), 21 U.S.C. § 853, and 28 U.S.C. § 2461 in the event of the defendant’s conviction
under Count 1 of this Information.
2. Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Section 841, the defendant,
WILLIAM SOYKE
shall forfeit to the United States of America:
a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such offense(s) and

b. any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, the offense(s).

3. If any of the property described above, as a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
€. has been commingled with other property that cannot be divided without
difficulty;
 

 

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the United States of America shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).
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18 U.S.C. § 981(a)(1(C)
21 U.S.C. § 853:

28 U.S.C. § 2461(c)
Fed. R. Crim. P. 32.2(a)

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ROBERT K. HUR
UNITED STATES ATTORNEY

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